Case 21-30995-mvl11 Doc 5 Filed 05/28/21             Entered 05/28/21 16:30:22       Page 1 of 8



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PROPOSED COUNSEL FOR GOLF TAILOR, LLC

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                        §
                                              §
GOLF TAILOR, LLC                              §              CASE NO. 21-30995-MVL
                                              §
         Debtor                               §              Chapter 11
                                              §

                  MOTION FOR AUTHORITY TO USE CASH COLLATERAL

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Comes now Golf Tailor, LLC (“Debtor” and “Debtor in Possession”), and hereby files

this Motion for Authority to use Cash Collateral (the “Motion”) and in support thereof would

respectfully show the Court as follows:

                               I.    JURISDICTION AND VENUE

         1.       The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334(b). This matter is a core proceeding and this Motion is proper in this district pursuant to 28

U.S.C. §§ 1408 and 1409.

         2.       The statutory bases for relief requested herein are Sections 105(a), 363(b) and

507(a) of the Bankruptcy Code.

                                     II.     BACKGROUND

         3.       Debtor filed a Voluntary Petition under Chapter 11 of Title 11 of the United

States Code on May 28, 2021 (the “Petition Date”). Pursuant to sections 1107 and 1108 of the

MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                      1
Case 21-30995-mvl11 Doc 5 Filed 05/28/21             Entered 05/28/21 16:30:22        Page 2 of 8




Bankruptcy Code, the Debtor is continuing to operate as a Debtor in Possession.

       4.      Debtor is an online retailer of golf products, and Debtor’s primary customers are

retail consumers.

                          III.     SECURED AND JUDGMENT CREDITORS

       5.      Upon information and belief, Clear Finance Technology Corporation (“CFTC”)

and American Express Bank FSB (“AMEX”) are asserting secured claims against the Debtor and

have filed UCC financing statements with the Oklahoma County Clerk.

       6.      Upon and information and belief, CFTC and AMEX may hold a lien that may

attach to personal property including cash collateral of the Debtor.

       7.      Nothing herein constitutes an admission of the validity, priority and/or extent of

any lien asserted or referenced above and specifically whether any post-petition cash constitutes

cash collateral.

                    IV.    REQUEST FOR USE OF CASH COLLATERAL

       8.      Debtor requires the use of cash to pay its reasonable and necessary operating

expenses, including, but not limited to, salaries, post-petition wages, commissions, withholdings

and deductions, supplies, fees to the United States Trustee, job operating cost, taxes, insurance,

and to minimally preserve and optimally increase the value of the business for the benefit of all

creditors, including CFTC and AMEX.

                          V.      GROUNDS FOR RELIEF REQUESTED

       9.      Section 363 of the Bankruptcy Code authorizes a debtor to use cash collateral if

those having an interest in such cash collateral consent or the court authorize the use.1 The use of

cash collateral, however, may be prohibited or conditioned, upon proper request, as is necessary


1
       See 11 U.S.C. §363(c)(2)


MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                        2
Case 21-30995-mvl11 Doc 5 Filed 05/28/21                      Entered 05/28/21 16:30:22               Page 3 of 8




to adequately protect any interest in cash collateral.2 The burden, however, to demonstrate that

the cash constitutes cash collateral belongs to the party claiming an interest in that cash and is

not the Debtor’s burden to prove the contrary.3

         10.      A court may authorize the use of cash collateral upon showing that those with an

interest in the cash collateral are adequately protected.4                      Adequate protection requires

examination of the creditor(s)’ aggregate collateral position, not simply protection of its lien on

cash. Adequate protection may be provided by granting replacement or additional liens “to the

extent [that the use of cash collateral] results in a decrease in the value of [an] entity’s interest in

property.”5 Authorizing a debtor to use cash collateral on an interim basis is appropriate where,

as here, continuing the business as a going concern will cause the generation of inventory and

future revenues upon which the secured lender is granted replacement liens.6

         11.      By authorizing the Debtor to use Cash Collateral, the Court will place the Debtor

in a position to fund the operating expenses of the business and to operate its facility as a going

concern for the immediate future. The Debtor needs to use Cash Collateral, inter alia, to fund

payroll, satisfy employee obligations, pay suppliers and other vendors of the Debtor, and meet

other on-going business obligations. Without the authority to use Cash Collateral, the Debtor

will be unable to fund its business operations in a manner that will allow the Debtor to continue

to operate its business as a going concern, to the detriment of all of Debtor’s creditors, including



2
         See 11 U.S.C. §363(e).

3
         See 11 U.S.C. § 363(o)(2).

4
         See In re Harrington and Richardson, Inc., 48 B.R. 431, 433 (Bankr.D.Mass. 1985); In re Certified Corp.,
51 B.R. 768, 770 (Bankr.D.Hawaii 1985) (“It is well established that a debtor is entitled to use cash collateral upon
proof of adequate protection.”).

5
         See 11 U.S.C. § 361(2).


MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                                             3
Case 21-30995-mvl11 Doc 5 Filed 05/28/21                      Entered 05/28/21 16:30:22              Page 4 of 8




CFTC and AMEX.

         12.      Should the Debtor not be allowed to use Cash Collateral to fund its day-to-day

operations, not only would the Debtor and its employees be damaged, but also CFTC and AMEX

and the other creditors of the Debtor. A denial of the use of Cash Collateral would cause

immediate and irreparable harm to the reputation, goodwill, and public confidence in the Debtor,

a consequence that can only translate into a drastic loss in value as a going concern in a highly

competitive business.

               VI.      OFFER OF ADEQUATE PROTECTION AND SUMMARY
                          OF INTERIM CASH COLLATERAL ORDER

         13.      The offer of adequate protection is as follows:

                      a) The cash will be used to continue the operations of the Debtor’s
                         business, pay salaries, fees to the U.S. Trustee and to maintain
                         insurance on the Debtor’s property. A copy of Debtor’s proposed
                         two weeks and 30 day budgets are attached hereto as Exhibit A;

                      b) The Debtor will file its monthly operating reports with the
                         Bankruptcy Court on a timely basis, thus providing monthly
                         financial statements to CFTC and AMEX by and through the
                         Bankruptcy Court’s electronic noticing process;

                      c) The use of Cash Collateral may be terminated by the Court on
                         motion, after notice and a hearing, if the Court determines that
                         CFTC and AMEX are no longer adequately protected.

                      d) CFTC and AMEX are hereby granted replacement lien(s) and
                         security interest(s) (the “Replacement Liens”) in the Debtor’s cash
                         and receipts (the “Replacement Collateral”) but only to the same
                         extent, validity and priority that the lien(s) and security interests
                         existed prior to the bankruptcy filing. The Replacement Lien(s)
                         are subordinate to any prior existing, validly perfected and non-
                         avoidable lien and security interest that existed on the Filing Date.
                         The Replacement Lien shall not cover causes of action governed
                         by Chapter 5 of the Bankruptcy Code. Additionally, nothing
                         herein constitutes an admission or an order with respect to the


6
        See, e.g., In re Neise, Inc., 16 B.R. 600 (Bankr. D. Fla. 1981); In re Certified Corp., 51 B.R. 768 (Bankr.D.
Hawaii 1985); In re Post-Tron Systems, Inc., 106 B.R. 345 (Bankr.D.R.I. 1989).

MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                                         4
Case 21-30995-mvl11 Doc 5 Filed 05/28/21              Entered 05/28/21 16:30:22        Page 5 of 8




                       validity, priority and/or extent of the lien(s) purportedly held by
                       CFTC and AMEX.

       14.     The Debtor believes that the terms of this proposed Cash Collateral Order are fair

and reasonable under the circumstances. The Debtor asserts that the aggregate value of CFTC

and AMEX’s collateral will not diminish as a result of the use of cash in this case. However, the

value of the interest in cash and receipts may fluctuate and even decrease over the course of this

bankruptcy proceeding.

       15.     The Debtor believes that CFTC and AMEX are entitled to the adequate protection

as set forth in the summary above. The adequate protection provisions have been drafted to

provide protection without taking undue or inappropriate value from the Estate and its unsecured

creditors.

       16.     Given that the interest of CFTC and AMEX will be adequately protected, it is in

the best interest of the Debtor, this Estate, and all of Debtor’s creditors for the Debtor to continue

operations of the business and obtain authorization for the use Cash Collateral.

                           VII. NOTICE OF THIS MOTION

       17.     No Chapter 11 Trustee or creditors’ committee has been appointed in this case.

Notice of this Motion has been provided to the Office of the United States Trustee, the Debtor,

CFTC and AMEX, creditors on the attached mailing matrix and creditors that have entered a

notice of appearance via electronic means, facsimile or United States First Class Mail, which the

Debtor submits is sufficient notice under the circumstances and that no further notice is

necessary for interim relief.

                                VIII. REQUEST FOR RELIEF

       18.     As such, the Debtor respectfully requests this Court authorize the use of Cash

Collateral for the purposes of paying necessary business expenses as allowed by Section 363 of

MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                         5
Case 21-30995-mvl11 Doc 5 Filed 05/28/21             Entered 05/28/21 16:30:22       Page 6 of 8




the Bankruptcy Code. Debtor request that this relief be granted on an interim basis. Relief is

necessary on an interim basis to avoid immediate and irreparable harm to the Debtor, its Estate,

and all of its creditors, as previously asserted and will afford Debtor to provide all creditors of

subsequent notice of a final hearing.

       WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests the Court

(i) authorize the use of Cash Collateral pursuant to Sections 105, 361, 362, 363 and 364 of the

Bankruptcy Code and Bankruptcy Rule 4001(b); and (ii) grant such other relief and further relief

as the Court may deem proper.

Dated: May 28, 2021                     Respectfully submitted,

                                               /s/ Areya Holder Aurzada
                                               Areya Holder Aurzada
                                               State Bar No. 24002303
                                               HOLDER LAW
                                               901 Main Street, Suite 5320
                                               Dallas, TX 75202
                                               Telephone: (972) 438-8800
                                               Email: areya@holderlawpc.com

                                               PROPOSED COUNSEL FOR GOLF TAILOR, LLC.



                             CERTIFICATE OF CONFERENCE

       This is to certify that I attempted to confer via telephone with Psaluja on May 28, 2021, a

representative of CT Lien Solutions, who is listed as contact on the UCC Financial Statement for

both CFTC and AMEX, regarding the filing of the Motion for Authority to Use Cash Collateral

and the corresponding Motion for Expedited Hearing.               Psaluja was unavailable, and I

subsequently left a voicemail.

       Additionally, Amy Hinson, my legal assistant, and I attempted to confer via telephone

and email with Tal Marantz with CFTC regarding the Motion for Authority to Use Cash

Collateral and the corresponding Motion for Expedited Hearing. Mr. Marantz was unavailable,
MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                      6
Case 21-30995-mvl11 Doc 5 Filed 05/28/21           Entered 05/28/21 16:30:22       Page 7 of 8




and I subsequently left a voicemail. As of the filing of this Motion, Ms. Hinson has not received

any replies to the emails sent to Mr. Marantz and other CFTC emails.

        Further, I attempted to confer via telephone with Michael Lynch and Lisa Segal with

AMEX regarding the Motion for Authority to Use Cash Collateral and the corresponding Motion

for Expedited Hearing. Mr. Lynch and Ms. Segal were unavailable, and I was unable to leave a

voicemail for either of them.

       As of the filing of this Motion, the positions of CFTC and AMEX are unknown.

       Finally, on May 28, 2021, my legal assistant, Amy Hinson, attempted to confer via

telephone and email with Erin Schmidt with the Office of the United States Trustee (the “UST”)

regarding this Motion for Authority to Use Cash Collateral and the corresponding Motion for

Expedited Hearing. Ms. Schmidt was unavailable, and Ms. Hinson subsequently let a voicemail.

As of the filing of this Motion, the position of UST is unknown.

                                            /s/ Areya Holder Aurzada
                                            Areya Holder Aurzada




MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                    7
Case 21-30995-mvl11 Doc 5 Filed 05/28/21             Entered 05/28/21 16:30:22      Page 8 of 8




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on May 28,

2021, upon the attach mailing matrix via United States first class mail, postage prepaid except

for the parties listed below which received electronic notice.

VIA ELECTRONIC NOTICE ON:

Erin Schmidt                                  Via email: Erin.Schmidt2@usdoj.gov
Office of the U.S. Trustee
1100 Commerce, Room 976
Dallas, Texas 75242-1496

Tal Marantz                                   Via email: payments@clearbanc.com
Clear Finance Technology Corporation          Via email: support@clearbanc.com
548 Market Street #68100                      Via email: info@clearbanc.com
San Francisco, CA 94104


                                              /s/ Areya Holder Aurzada
                                              Areya Holder Aurzada




MOTION FOR AUTHORITY TO USE CASH COLLATERAL                                                        8
